
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be affirmed, with costs.
Consistent with our decision in Igbara Realty Corp. v New York Prop. Ins. Underwriting Assn. (63 NY2d 201), plaintiffs’ submission of documentation and participation in oral examinations did not discharge their obligation to submit sworn proofs of loss within 60 days after the insurer’s demand. Since it is undisputed that plaintiffs failed to submit sworn proofs of loss within 60 days after receipt of the insurer’s request, as required by the terms of the standard fire insurance policy and sections 168 and 172 of the Insurance Law, the Appellate Division correctly affirmed the dismissal of plaintiffs’ first cause of action arising from the loss of January 15, 1982.
Chief Judge Cooke and Judges Jasen, Jones, Wachtler, Meyer, Simons and Kaye concur.
On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), order affirmed, with costs, in a memorandum.
